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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                   Plaintiff,            )                 4:09CR3117
                                         )
             v.                          )
                                         )
TRAVES RUSH,                             )                   ORDER
                                         )
                   Defendant.            )
                                         )


      I will deny the defendant’s motion to amend (filing no. 281), as this matter has
been final since October 21, 2015. Of course, the defendant may file a separate §
2255 motion but I hasten to add that I make no determination of whether such a
motion would be timely or otherwise barred.

      IT IS ORDERED that the defendant’s motion to amend (filing no. 281) is
denied.

      DATED this 6th day of July, 2016.

                                       BY THE COURT:

                                       s/ Richard G. Kopf
                                       Senior United States District Judge
